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                   Exhibit A
     Case
      Case5:18-cv-00382-MTT
           5:18-cv-00382-MTT Document
                              Document48-1 Filed10/18/21
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                 UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF GEORGIA
                        MACON DIVISION


UNITED STATES OF AMERICA                  CIVIL ACTION FILE NO.
ex rel. [UNDER SEAL],

     Plaintiffs/Relators,
                                                  5 : 18-CV- 8 2
V.

[UNDER SEAL],

     Defendant.




                  FILED IN CAMERA AND UNDER SEAL
                   PURSUANT TO 31 U.S.C. § 3730(b)(2)

           PLEASE DO NOT MAKE AVAILABLE ON PACER




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                  UNITED STATES DISTRICT COURT   ,;·i

               FOR THE MIDDLE DISTRICT OF GEORGIA,,_'·.• ~T12           57
                         MACON DIVISION             :1 ,. r , ••


UNITED STATES OF AMERICA                CIVIL ACTION FILE NO.
ex rel., ALEX PERMENTER,
ERIC RODIGHIERO, and                    Case No. -------
CHRIS WHEELER

     Plaintiffs,

V.


eCLINICAL WORKS, LLC,

     Defendant.



                   FILED IN CAMERA AND UNDER SEAL
                    PURSUANT TO 31 U.S.C. § 3730(b)(2)


           PLEASE DO NOT MAKE AVAILABLE ON PACER




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                                    COMPLAINT

       COME NOW, ALEX PERMENTER, ERIC RODIGHIERO, and CHRIS

WHEELER, Plaintiffs/Relators in the above-styled action, and file this Complaint

on behalf of the United States of America against eCLINICALWORKS, LLC.

                                I. INTRODUCTION

                                            1.

       This is an action to recover all available damages and civil penalties on

behalf of the United States of America arising from false and/or fraudulent records,

statements, and claims made and/or caused to be made by defendant and/or its

agents, employees, and co-conspirators in violation of the federal False Claims Act

("FCA"), 31 U.S.C. §§ 3729 et seq.

                                            2.

       This case involves grave security vulnerabilities in the software of one of the

Nation's major vendors of Electronic Health Records ("EHR") software-

eClinicalWorks, LLC ("ECW"). The security vulnerabilities in ECW's EHR

software allow malicious actors to access the Protected Health Information

("PHI"),social security numbers, and other private information of tens of millions

of federal healthcare beneficiaries and other Americans. By exposing the PHI of

tens of millions of Americans to malicious actors, ECW is knowingly and

recklessly exposing those citizens to identify theft, blackmail, and other illicit


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demands. The security flaws in ECW' s EHR software are so basic and obvious

that they are known to ECW. By continuing to market and sell its EHR software to

thousands of physicians and by continuing to avoid fixing the numerous security

flaws in its software, ECW is playing Russian roulette with the PHI of tens of

millions of American citizens. Even worse, the security flaws in ECW' s EHR

software make it difficult, and potentially impossible, to tell whether a bad actor

has already accessed and downloaded the PHI of American citizens. Given how

weak ECW' s EHR software's security is, there is a very real and present danger

that the PHI of American citizens has already been accessed and exploited.

                                           3.

      These fundamental security flaws pose more than just a risk of financial

harm. They literally involve matters of life and death as malicious actors could

access and alter the PHI of American patients. These security flaws permit a

malicious actor to access and alter the medical records of patients while sitting

behind the keyboard of a computer or tablet anywhere in the world. Given the

extreme vulnerabilities of ECW' s EHR software, a malicious actor could alter the

known allergies of a patient, change their medication, or do any other myriad of

nefarious things to harm a public or private citizen while posing as a doctor or

nurse with access to the patient's PHI and medical records.




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                                          4.

      In addition to exposing the PHI of tens of millions of American citizens to

the malicious acts of bad actors, the grave and fundamental security flaws in

ECW's EHR software also make it ineligible for certification as an acceptable

EHR program under federal regulations. Those security flaws likewise make it

impossible for any physician or phyisician practice group using ECW' s EHR

software to truthfully certify that they are complying with applicable HIP AA

security requirements when submitting claims for payment to CMS or to one of

CMS's contractors. ECW's misconduct has caused the submission of false claims

and cost the government millions in federal healthcare reimbursement and

incentive payments.

                                II. THE PARTIES

                                    A. Relators

                                          5.

      ALEX PERMENTER ("Relator Permenter") is the founder of Alex's PC

Solutions ("PC Solutions"), a Managed Services Provider and FCC licensed

telecom in Macon, Georgia. Relator Permenter leads a team that services roughly

             , including many healthcare practices, and more than

-         in Middle Georgia. PC Solutions services healthcare provider clients

ranging in size from a single provider to large multi-location groups with over 100


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employees. Relator Permenter founded his own technology company 18 years ago

and has worked in the technology field ever since. He has been an expert

computer forensics witness in both the Superior Courts of Bibb and Houston

Counties. Relator Permenter has substantial experience in a wide variety of fields,

including telecom, information security, networking, systems administration, and

regulatory compliance. He is active in several technology focused peer groups and

holds multiple technical certifications.

      Through his work with PC Solutions' healthcare provider clients, Relator

Permenter has substantial knowledge of and technical expertise with ECW' s EHR

software.

                                           6.

      ERIC RODIGHIERO ("Relator Rodighiero") received his degree in

Mathematics in 2008 from California State University, Northridge. He has been

involved in the world of computers for over 30 years as a student of the technology

and as a part-time developer. Relator Rodigherio previously worked at Knowledge

Adventure Software, where he was responsible for disassembling and reassembling

software in different programming languages. More recently, he has been a coder

(C++, Python, LUA), database admin (MySQL/MariaDB), and content developer

(various tools) for a donation-supported multi player online game. Relator

Rodighiero joined PC Solutions in 2015 as a helpdesk engineer. In 2017, he


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became a partial owner of PC Solutions and now manages the helpdesk

department.

      Through his work with PC Solutions' healthcare provider clients, Relator

Rodigherio has substantial knowledge of and technical expertise with ECW's EHR

software.

                                         7.

      CHRIS WHEELER ("Relator Wheeler") studied Computer Science at

Georgia Southwestern University. During his time studying Computer Science,

Relator Wheeler worked for a Managed Service Provider ("MSP") called NEOS

Technologies, which provided IT resources to Sumter Regional Hospital, Flint

River Hospital, and many other healthcare providers. While working for NEOS,

Relator Wheeler first gained substantial technical expertise with ECW' s EHR

software. He has built on that substantial technical expertise with ECW' s EHR

software in his subsequent IT positions, including at PC Solutions. Relator

Wheeler has also gained expertise in cybersecurity and cryptography while

working on multiple side projects, including freelance software development and

embedded systems engineering, designing the printed circuit boards, and writing

the software that runs many bitcoin ATMs in Finland. Relator Wheeler has

assisted the Computer Technology Industry Association in developing their

Cloud+ certification and was the first CompTIA Cloud+ Certified systems


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engineer in Georgia.

      Through his work with PC Solutions' healthcare provider clients, Relator

Wheeler has substantial knowledge of and technical expertise with ECW' s EHR

software.

                                            8.

      Relators are original sources and bring this qui tam action based upon direct

and unique information they possess with regard to the fraudulent acts of defendant

set forth and described with particularity hereafter.

                                 B. Defendant ECW

                                           9.

      Defendant ECW is a Delaware limited liability company with its principal

place of business located at 2 Technology Drive, Westborough, Massachusetts

01581. Defendant ECW maintains an office in Georgia at 555 North Point Center

E #515, Alpharetta, GA 30022.

                                            10.

      Defendant ECW is a privately held healthcare software and technology

company.

                                            11.

      ECW's co-founders and key corporate officers are Girish Navani (Chief

Executive Officer), Rajesh Dharampuriya, M.D. (Chief Medical Officer), and


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Mahesh Navani (Chief Operating Officer).

                                           12.

      ECW' s principal business is developing and licensing EHR software to

health care providers such as physician practices and hospitals.

                                           13.

      According to ECW, more than 130,000 healthcare providers use ECW's

EHR software in the United States. Those 130,000 healthcare providers treat at

least tens of millions of Americans. Thus, those 130,000 healthcare providers

possess the PHI of at least tens of millions of Americans.

                                           14.

      ECW contends that it "is the leading cloud-based EHR in the industry,"

meaning that much of the patient data stored in ECW' s EHR software is stored "in

the cloud."

                                           15.

      ECW has an established track record of fraud in connection with its EHR

software. In 2017, ECW settled a FCA case seeking to recover federal dollars paid

out in "Meaningful Use" payments to physicians. The case was brought by Relator

Brendan Delaney and alleged ECW falsely represented to customers that its EHR

software complied with applicable federal regulations while concealing

fundamental defects in the system. See United States ex rel. Delaney v.


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eClinicalWorks, LLC, Case No. 15-CV-00095 (D. Vt.). The defects in the ECW

system identified by Delaney related to the program's functionality. See Delaney

Compl.   ,r,r63-107.   Specifically, Delaney alleged that ECW's EHR software failed

reliably to document and track medications administered to patients, failed reliably

to record and track laboratory results, and failed to contain adequate protections to

retain prescriptions, avoid overmedications, and avoid editing of patient notes. Id.

ECW agreed to settle the claims in the Delaney suit and the government released

ECW for Meaningful Use payments related to "Covered Conduct" through

February 1, 2017. The settlement agreement defines "Covered Conduct" to be the

claims alleged in the Delaney complaint in intervention and makes clear that the

only claims released are the "Covered Conduct."

      None of the allegations in the Delaney suit had anything to with ECW's

complete and utter failure to create a secure EHR program that is not vulnerable to

hackers or other bad actors. None of the claims raised herein are part of the

Covered Conduct released by the Government in the Delaney case. Relators are

original sources of the matters set forth in this Complaint. There has been no

public disclosure of any of the security vulnerabilities in ECW' s EHR software

that are raised in and form the basis of this Complaint.




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                                            16.

       As part of its settlement of the Delaney case, ECW also agreed to be subject

to a Corporate Integrity Agreement (or "CIA") with the Office of Inspector

General of the U.S. Department of Health & Human Services ("OIG"). OIG has

authority to negotiate Corporate Integrity Agreements with healthcare providers

and other entities such as EHR developers as part of the settlement of Federal

health care program investigations arising under the federal False Claims Act and

other false claims statutes. In entering the Corporate Integrity Agreement, a

healthcare provider or entity agrees to adhere to the obligations set forth in the CIA

and, in exchange, OIG agrees not to seek the provider's exclusion from

participation in Medicare, Medicaid, or other Federal health care programs. See

https:/ / oig.hhs.gov/ compliance/corporate-integrity-agreements/.   The effective date

ofECW's CIA is May 30, 2017. ECW's CIA is effective for five years from that

date. A copy ofECW's CIA is attached as Exhibit A. Though not a part of the

Delaney lawsuit, the conduct alleged herein violates both the FCA and ECW's

CIA.

                        III. JURISDICTION AND VENUE

                                            17.

       This Court has jurisdiction over the parties and the subject matter of the

claims brought in this action under the FCA pursuant to 28 U.S.C. § 1331 and 31


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U.S.C. § 3732(a), the latter of which specifically confers jurisdiction on this Court

for actions brought pursuant to 31 U.S.C. § 3729 and 3730.

                                            18.

      Under 31 U.S.C. § 3730(e)(4), there has been no statutorily relevant public

disclosure of the "allegations or transactions" in this Complaint, and, to the extent

any party asserts that there was any such relevant public disclosure, as set forth

below, Relators are original sources of the information on which this action is

based and voluntarily provided that information to the Government before filing

suit. None of the conduct alleged herein is based upon or related to the allegations

or transactions at issue in the Delaney case. Relators discovered the massive

security flaws in ECW' s EHR software on their own while assessing the security

of their clients' patients' PHI without any knowledge of even the existence of the

Delaney case.

                                            19.

      Venue is appropriate as to ECW in this district because ECW can be found

in, resides in, transacts business in, and/or has committed an act proscribed by the

FCA in this judicial district. Therefore, within the meaning of28 U.S.C. § 1391(c)

and 31 U.S.C. § 3732(a), venue is proper.




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                                           20.

      Relators have presented the Government with timely disclosures regarding

the False Claims Act violations described herein as required by 31 U.S.C. §

3730(b)(2).

                                           21.

      On information and belief, ECW is the business entity that committed the

unlawful and fraudulent activities alleged in this Complaint. To the extent any

related business entities and/or natural persons also engaged in such unlawful

conduct, Relators hereby give notice that they seek to hold any such related

business entities and/or natural persons liable for such unlawful conduct.

                         IV. THE FALSE CLAIMS ACT

                                           22.

      Defendant's conduct described herein violates the FCA. The FCA was

originally enacted during the Civil War, and was substantially amended in 1986.

Congress amended the statute to enhance the federal Government's ability to

recover losses sustained as a result of fraud committed against the United States

after finding that fraud in federal programs was pervasive, and that the statute,

which Congress characterized as the primary tool for combating Government

fraud, was in need of modernization. Congress intended that the amendments

create incentives for individuals with knowledge of fraud being committed against


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the United States to disclose that information without fear of reprisals or

Government inaction, and to encourage the private bar to commit legal resources to

prosecuting fraud on the Government's behalf.

                                           23.

      The FCA allows persons having information about a violation of the FCA to

bring an action on behalf of the Government, and to share in any recovery. The

FCA requires that the Complaint be filed under seal for a minimum of 60 days

(without service on the defendant during that time) to allow the Government time

to conduct its own investigation and to determine whether to join the suit.

                                           24.

      31 U.S.C. § 3729(a)(l)(A) provides that any person who knowingly presents

or causes to be presented to the United States any false or fraudulent claim for

payment or approval is liable to the United States Government both for a civil

penalty and for three times the amount of damages which the Government sustains

because of the act of that person. The current civil penalty is not less than $10,781

and not more than $21,563 per false claim made. 20 C.F.R. § 356.3.

                                           25.

      31 U.S.C. § 3729(a)(l)(B) provides that any person who knowingly makes,

uses, or causes to be made or used, a false record or statement material to a false or

fraudulent claim is liable to the United States Government both for a civil penalty


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and for three times the amount of damages which the Government sustains because

of the act of that person. The current civil penalty is not less than $10,781 and not

more than $21,563 per false claim made. 20 C.F.R. § 356.3.

                                           26.

      31 U.S.C. § 3729(a)(l)(C) provides that any person who conspires to

commit a violation of subparagraph (A) and/or subparagraph (B) of 31 U.S.C. §

3729(a)(l) is liable to the United States Government both for a civil penalty and

for three times the amount of damages which the Government sustains because of

the act of that person. The current civil penalty is not less than $10,781 and not

more than $21,563 per false claim made. 20 C.F.R. § 356.3.

                                           27.

      31 U.S.C. § 3729(a)(l)(G) provides that any person who "knowingly

conceals or knowingly and improperly avoids or decreases an obligation to pay or

transmit money or property to the Government" is liable to the United States

Government both for a civil penalty and for three times the amount of damages

which the Government sustains because of the act of that person. The current civil

penalty is not less than $10,781 and not more than $21,563 per false claim made.

20 C.F.R. § 356.3.




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                                            28.

       The False Claims Act defines "claim" to include any request or demand

made upon an agency of the United States for payment of money. 31 U.S.C.

§ 3729(b)(2).

                                            29.

      No proof of specific intent to defraud is required to prove a False Claims Act

violation. The terms "knowing" and "knowingly" are defined to mean that a

person (1) has actual knowledge of the information; or (2) acts in deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard

of the truth or falsity of the information. 31 U.S.C. § 3729(b)(l).

                                            30.

      Relators seek to recover all available damages, civil penalties, and other

relief available at law for the violations alleged herein.

                                VI. BACKGROUND

                       A. ECW's Widely Used EHR Software

                                            31.

      Based on Relators' extensive experience performing technology work for

healthcare practices, Relators' know that ECW' s EHR software is widely used.

Most of Relators' healthcare practice clients use ECW' s EHR software.




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                                           32.




                                           33.

      ECW' s EHR software makes patient data easily accessible to healthcare

providers-and    anyone who gains access to a healthcare provider's ECW

credentials. Indeed, one of ECW' s key selling points for its EHR software is that

"[p ]roviders enjoy easy documentation, the latest in interoperability, and can

access patient data anytime, anywhere - on a PC or Mac using a web browser, a

smartphone, or an iPad." 1

                                           34.

      ECW represents to healthcare providers that "the eClinicalWorks Cloud

keeps your private data private." 2 That representation is both false and reckless.




1 See ECW, EHR for Practices, https://www.eclinicalworks.com/products-
services/ehr-for-practices/ (emphasis added) (last visited October 5, 2018).
2 ECW, About Us, https://www.eclinicalworks.com/about-us/ (last visited October

5, 2018).
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                                            35.

      ECW represents to healthcare providers that its "single focus" is providing

its "customers with secure, cloud based solutions to their healthcare IT needs." 3

That representation is both false and reckless.

                                            36.

      ECW represents to healthcare providers that it "keeps your patient and

practice data safe, secure, and fully accessible regardless of time, network traffic,

or Mother Nature." 4 That representation is both false and reckless.

                                            37.

      ECW' s conduct-as      set forth in greater detail below-violates   both the FCA

and the CIA. The security vulnerabilities in ECW' s EHR software and the massive

harm that could result from a data breach-to      the extent one has not already

occurred-is   unparalleled in scope, a grave danger to the health and security of

American citizens, and a significant threat to national security given that this

information could potentially be used by malicious actors and unscrupulous nation

states to try and blackmail, extort, or manipulate public officials.




3 See About eClinicalWorks, https://www.eclinicalworks.com/ (emphasis added)
(last visited October 7, 2018).
4 See https://www.eclinicalworks.com/about-us/ (last visited October 7, 2018).

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                B. Grave Security Vulnerabilities in ECW's EHR.

                                            38.

      A significant portion of Relators' work with their healthcare clients involves

servicing and providing support to their clients' use of ECW' s EHR software.

With only a small amount of time and the limited access allowed them by their

client work, Relators have identified numerous grave security vulnerabilities in

ECW's EHR software. Relators' goal in bringing this action is to ensure that the

PHI of their clients' patients and other American citizens is secure and protected

from disclosure to unauthorized persons who may use it for illicit purposes.

Relators provide a list of these vulnerabilities below. The list is illustrative only.

Because the security ofECW's EHR software is so recklessly and knowingly

deficient, there are many other examples that Relators can and are prepared to

identify to the government in the appropriate setting. Upon information and belief,

ECW' s software likely has additional major security flaws that are not apparent to

Relators who only have limited access to ECW' s servers.

                                            39.

      At a high level, the flaws in the security ofECW's EHR software make it

possible for a bad actor to rather easily access the EHR systems of all or nearly all

physicians and physician practices using ECW' s EHR software. Once logged in to

the system, a bad actor could do a whole host of things


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-                                          40.

      The flaws in the ECW EHR software are system-wide and easily

exploitable. A motivated bad actor could write an undetectable program that could

download the PHI of every patient of an ECW EHR software user. A motivated

bad actor could also send targeted requests for the PHI of politicians, public

officials, celebrities, and other people of note who could be subject to blackmail or

worse. A bad actor also could easily write a program that would crash the entire

ECW EHR system, causing chaos and massive disruption in the delivery of

medical services to American citizens. These threats are not mere hyperbole.

They are real and present dangers. The results of such breaches of the ECW EHR

system would be catastrophic. ECW knows or should know of the grave security

risks posed by its EHR software.




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                                        41.




                                       42.




                                                       "5   Many of the security

flaws discussed below would be evident to anyone

             In other words, ECW has left a roadmap showing any bad actor the

path to complete access to the ECW EHR system




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                                         43.




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6 Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1539 n. 17 (11th Cir. 1996) (quoting
3 Melville B. Nimmer & David Nimmer, Nimmer on Copyright§ 13.03[F] n. 271
(1995) (quotation marks omitted)).
7 Id.
8 Id. (emphasis added).

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                                          46.

      ECW' s EHR software is not "open source" software, like Mozilla Firefox.

Open source software is intentionally distributed with the source code available for

modification by users. The source code for ECW's EHR software, however,

should be carefully guarded because it contains an immense amount of information

that a malicious actor could use to breach PHI stored on ECW' s servers. Indeed, if

a malicious actor obtained ECW' s source code, the malicious actor would know all

of the inner workings of ECW' s EHR software and how to exploit the security

flaws in the program.



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                                 Anyone could very easily steal the source code

and utilize it to obtain the PHI of ECW' s customers' patients.




-   2. ECW's Web Servers Provide Extremely Sensitive Information Without
    Any Authentication.

                                          47.

      ECW's web based servers are grossly insecure.




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                                            48.

       Armed with that information, any motivated bad actor could easily and

quickly determine the actual passwords of individual practice administrators. Once

an administrator's login and password are known, a person could gain complete

administrative control of the practice's EHR and could download, change, or delete

PHI, in addition to a whole host of other bad acts. All of those bad acts could be

done with little to no detection whatsoever. This flaw in the ECW web based

servers is or, at the very least, should be obvious to ECW. Inexplicably, ECW has

done nothing to fix the problem.

      3. ECW's bogus "CAPTCHA" security feature.

                                            49.

      ECW' s use of a bogus CAPTCHA feature is reckless, fraudulent, and

emblematic of all of ECW' s security issues. ECW knows that it should have

security protocols in place to prevent unauthorized access to its customers' patients

PHI, but instead of designing a secure EHR system, ECW has only created a

system that appears secure.

                                            50.

      The ECW CAPTCHA feature provides absolutely no protection from the

very thing that it is meant to protect against-bot   attacks. ECW' s EHR conatins a


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 CAPTCHA in which a human user is required to fill in the CAPTCHA text in

 order to change her usemame. But because of the flaws in ECW's security, a bot

 can gain access to and send a direct command to the ECW server to change a

 password without having to meet the CAPTCHA requirements. The result is that

 ECW has made it harder for actual human users to change their own passwords,

 but done nothing to stop a bot from manipulating passwords and gaining access to

 the system. ECW' s CAPTCHA provides the illusion of security while actually

 diminishing the security of its own EHR software.

                                            51.

        ECW' s use of a bogus CAPTCHA feature is reckless, fraudulent, and

 emblematic of all of ECW' s security issues. ECW knows that it should have

 security protocols in place to prevent unauthorized access to its customers'

patients' PHI, but instead of designing a secure EHR system, ECW has only

 created a system that appears secure.

      4. The User Passwords ECW Stores on its Servers are Susceptible to
      Cracking.

                                           52.

        ECW fails to protect its users' passwords using standard industry security

practices

-As           a result, the "hashed" passwords stored in ECW' s servers are very



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susceptible to cracking. Once a malicious actor has access to an ECW user's

password, the malicious actor can download or alter PHI undetected.

                                             53.

      By way of background, user passwords stored on ECW's servers are not

stored as plain text. Instead, ECW stores the "hash" of a user's password. A

"hash" is created by running a password through a "hashing algorithm." "Hashing

algorithms take inputs of plaintext of an arbitrary length and produce alphanumeric

digests or 'hashes' of a fixed length."11

                                             54.




                                                   Hackers have created gigantic

databases called "rainbow tables" that provide the plain text passwords associated

with specific hashes.




11Jason R. Wool, Does the Cryptographic Hashing of Passwords Qualify for
Statutory Breach Notification Safe Harbor?, 6 J.L. & Cyber Warfare 56, 65
(2018).

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                                          55.




                                          56.

         Not only does ECW utilize a weak hashing algorithm, ECW does not take

additional steps to secure passwords,

                                          57.




12 Id.
13 See NIST SP 800-132 Section 5.1, available at
https://nvlpubs.nist.gov/nistpubs/Legacy/SP/nistspecialpublicationS00-132.pdf
(last visited October 5, 2018).
14 Jason R. Wool, Does the Cryptographic Hashing of Passwords Qualify for

Statutory Breach Notification Safe Harbor?, 6 J.L. & Cyber Warfare 56, 68
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                                          58.

                                                       CW is knowingly and

recklessly making these passwords very susceptible to cracking.




           elators were able to determine the plain text passwords associated with

50% of the users' password hashes within 20 seconds. As soon as a malicious

actor obtained one such usemame and password, the malicious actor would be able

to download or alter PHI with complete autonomy and without detection.

       5. ECW's EHR Software is Vulnerable to SQL Injection Attacks.

                                          59.

       Shockingly, ECW's EHR software is knowingly, recklessly, and

extraordinarily vulnerable to a widely known type of attack called a "SQL

Injection Attack." 15


15 SQL, which some pronounce as "S-Q-L" and others pronounce as "Sequel,"
stands for "Structural Query Language." SQL is a computer programming
language used to program databases. Most websites that allow users to request
information (for example, by typing a request into a search field) contain databases
and use SQL.
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                                           60.

      This vulnerability could easily result in the PHI of millions of federal

healthcare beneficiaries-and   other Americans-being     breached.

                                           61.

      SQL Injection Attacks are not novel. As one security commentator wrote in

2011, "SQL Injection vulnerabilities ... have led to history's largest data

breaches." 16

                                           62.

      Wired Magazine has written that "the SQL injection method ... is one of

the most basic and oldest tricks hackers use to get into websites and the contents

of backend databases connected to those sites. Those databases can contain Social

Security and credit card numbers, health records, or a host of other sensitive data,

including log-in credentials for website administrators and others that can give a

hacker access to other parts of a network beyond databases." 17




16 Josh Shaul, Why Do SQL Injection Attacks Continue to Succeed?, SC Mag.
(May 24, 2011), http://perma.cc/PM4C-TECV (last visited October 5, 2018).
17 Kim Zetter, Hacker Lexicon: SQL Injections, An Everyday Hacker's Favorite

Attack, Wired Magazine (May 11, 2016), https://www.wired.com/2016/05/hacker-
lexicon-sql-inj ections-everyday-hackers-favorite-attack/ (emphasis added) (last
visited October 5, 2018).
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                                           63.

      As a leading legal scholar recently explained in the Columbia Law Review,

a SQL Injection Attack "exploits a security bug or hole" in a web server. 18 A SQL

Injection Attack "is executed by attaching special extra language to the end of a

web request" on a website. 19 SQL Injection Attacks work because some web

servers-such   as ECW's servers-"are      misconfigured so that this extra language

will execute a command on the web server rather than return a webpage." 20

                                           64.

      The risk posed by SQL Injection Attacks is real and widely known

throughout the software industry, including to ECW.

                                           65.

      As recently as August 2016, the Federal Bureau of Investigation's Cyber

Division issued an "FBI Flash" warning private industry that "an unknown actor

[had] scanned a state's Board of Election website for vulnerabilities ... , and after

identifying a Structured Query Language (SQL) injection (SQLi) vulnerability

used SQLmap [a program that exploits SQL vulnerabilities] to target the state




18 Orin S. Kerr, Norms of Computer Trespass, 116 Colum. L. Rev. 1143, 1172
(2016)
19 Id.
20 Id.

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website." 08/18/2016 FBI Flash, "Targeting Activity Against State Board of

Election Systems," attached hereto as Exhibit B. (emphasis added).

                                          66.

      There are many infamous examples of SQL Injection Attacks.

                                          67.

      For example, many observers have suggested that the massive 2017 Equifax

data breach resulted from a SQL Injection Attack. See, e.g., 9/18/17 Legal Week,

143 million credit records of US citizens exposed in Equifax hack, 2017 WLNR

27705557 ("Equifax, the credit ratings agency, has warned that it has been hacked,

losing the personal details of some 143 million Americans-44     per cent of the

adult population-in   a data breach that outsiders suggest was the result of a

simple SQL injection attack." (emphasis added)).

                                          68.

      In 2010, a United States District Court Judge sentenced a hacker to two

twenty year sentences for his role in "[u]sing a SQL-injection attack" to break

"into the 7-Eleven network in August 2007, stealing an undetermined amount of

card data," among other hacks. 21 The hacker and his cohorts "used the same kind




21Kim Zetter, Hacker Sentenced to 20 Years for Breach of Credit Card Processor.,
Wired Magazine (March 26, 2010), https://www.wired.com/2010/03/heartland-
sentencing/ (last visited October 5, 2018).
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of attack to infiltrate Hannaford Brothers in November 2007, which resulted in 4.2

million stolen debit and credit card numbers." 22

                                              69.

           Through their extensive work for healthcare providers, Relators have

identified substantial SQL vulnerabilities in their clients' ECW EHR servers.

Relators believe these SQL vulnerabilities exist in all ECW servers.

                                              70.

           A hacker could exploit these SQL vulnerabilities by sending queries directly

to the database. For example, a hacker could access a practice's web based server

then inject a SQL command that allows the hacker to download the entire

database of the medical server to a folder and work through that database offline

without detection.

                                              71.

           Any alteration or breach of PHI that a hacker made through a SQL Injection

Attack would be virtually undetectable. It is possible that hackers have already

used SQL Injection Attacks to alter or obtain PHI through ECW's EHR.

                                              72.

           Any alteration or breach of PHI that a hacker made through a SQL Injection

Attack would therefore violate federal law, which requires that EHR technology be


22   Id.
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able to "[v]erify against a unique identifier(s) (e.g., a username or number) that a

person seeking access to electronic health information is the one claimed." 45

C.F.R. § 170.314(d)(l)(i) (emphasis added).

                                            73.

       Just as the risk of SQL Injection Attacks is widely known, so too are the

ways to eliminate those risks.

                                            74.

       For example, the University of California, Berkeley maintains a publicly

available website titled "How to Protect Against SQL Injection Attacks." 23 After

stating that "SQL injection is one of the most common web attack mechanisms

utilized by attackers to steal sensitive data from organizations," the website

explains how to mitigate the risk. 24 "Developers can prevent SQL Injection

vulnerabilities in web applications by utilizing parameterized database queries with

bound, typed parameters and careful use of parameterized stored procedures in the

database. This can be accomplished in a variety of programming languages

including Java, .NET, PHP, and more." 25 ECW does not do any of this. ECW



23 Berkley Information Security & Policy,
https ://security. berkeley .edu/resources/best-practices-how-articles/ system-
application-security /how-protect-against-sql-inj ection (last visited October 5,
2018).
24 Id.
2s Id.


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instead knowingly and recklessly exposes its customers' patients' PHI to a SQL

Injection Attack without even taking the most basic steps to prevent such an attack.

                                           75.

       As one of the Nation's major EHR software developers with hundreds of

millions of dollars in annual revenue, ECW knows-or       is reckless in not

knowing-the    extensive SQL vulnerabilities in its software. It is unconscionable

for ECW to be putting the confidentiality of so many Americans' PHI, social

security numbers, and private financial information at such grave risk.

       6. Additional Security Vulnerabilities.

                                           76.

       In addition to the vulnerabilities described above, Relators have identified

many additional grave security vulnerabilities in ECW' s EHR software. These

include:

                                           77.

       Predictable naming conventions for ECW's EHR server names. Relators

have determined that ECW uses an easy-to-predict naming convention for many-

and potentially all-of the ECW "cloud" servers where healthcare providers store

PHI.




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                                 Using Google, Relators were able to identify

more than 8,000 live ECW cloud server sites using this naming convention in a

single night. Once the ECW cloud server sites are known, a bad actor could then

gain access to the EHR and PHI contained on those sites by exploiting the security

flaws described herein.

                                         78.

      Easy encryption keys.




A malicious actor could easily gain access to ECW' s EHR servers by

                   using one of these easy-to-determine encryption keys.




      These encryption keys are extremely easy to find.




■

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                               While Relators have not accessed any PHI they are

unauthorized to access, a malicious actor could easily do so.

                                           79.

      ECW's servers freely distribute "security rights." ECW' s servers, which

store PHI, rely on the ECW client (e.g., a computer operating the ECW software)

to tell the servers what "security rights" the client has. Once the ECW client tells

the ECW servers that the client is authorized to view or alter PHI, the client can do

so. Additionally, the ECW servers allow the ECW client to tell the servers the type

of user the client is. For example, a malicious actor who gained access to the ECW

servers through a-           could tell the servers that she was a doctor, gaining

maximum access to all information stored in the program, including PHI, social

security numbers, and private financial information. The malicious actor could

then also edit patient records, for example, and the audit logs would reflect that the

doctor, as opposed to the malicious actor, had edited the patient records. These

vulnerabilities flout standard industry practice and could literally lead to someone

being hurt or killed by, for example, a malicious actor altering the medication to be

provided to a patient or the patient's known allergies.




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                                             80.




could easily cause a breach of PHI.

                                             81.

      ECW's login page uses outdated and discontinued software.



                                                   aking it incredibly susceptible to

exploitation by a hacker or malicious actor.

                                             82.

      All of the vulnerabilities identified above are known in the industry and

totally preventable. ECW could easily strengthen the security of its software and

prevent its customers' patients'

information from being placed at unreasonably high security risks. ECW has

knowingly and recklessly exposed its customers' patients'

                                   nformation to unreasonably high security risks

while lying to them-and    the Government-by         claiming its EHR software is

secure and not vulnerable to attack. It is astounding how vulnerable the most




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private information imaginable of tens of millions of people throughout the United

States is to disclosure and misuse.

                    VII. ECW's False Claims Act Violations

      As detailed below, the security vulnerabilities contained in ECW's fatally

flawed EHR give rise to ECW' s FCA liability in several ways.

         A. ECW has caused and is causing healthcare providers who bill
           federal healthcare programs to falsely certify their compliance with
            the HIPAA Security Regulations.

                                          83.

      ECW has violated and is violating the FCA by causing healthcare providers

to falsely certify compliance with federal laws and regulations material to

Government payment.

                                          84.

      Before a healthcare provider is permitted to submit claims electronically for

government payment, the healthcare provider is required to execute an Electronic

Data Interchange ("EDI") Enrollment Agreement. After executing the EDI

Enrollment Agreement, the healthcare provider is required to submit it to CMS via

a Medicare Administrative Contractor ("MAC"). A blank EDI Enrollment

Agreement is attached hereto as Exhibit C.




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                                             85.

       The EDI Enrollment Agreement requires the healthcare provider to make

several express certifications to CMS. Relevant here, the EDI Enrollment

Agreement requires the healthcare provider to expressly certify that the healthcare

provider "will use sufficient security procedures (including compliance with all

provisions of the HIPAA security regulations) to ensure that all transmissions of

documents are authorized and protect all beneficiary-specific data from improper

access." Ex.Cat 13 (EDI Agreement§ A.I I) (emphasis added).

                                             86.

       In addition to this express certification, healthcare providers impliedly

certify their compliance with the HIP AA security regulations when they submit a

claim for payment to CMS or one of CMS' s contractors. Thus, compliance with

the HIP AA security regulations is a condition precedent to payment by CMS and is

material to CMS's decision to pay a claim. See, e.g., United States v. Am. at Home

Healthcare & Nursing Servs., Ltd., No. 14-CV-1098, 2018 WL 319319, at *7

(N.D. Ill. Jan. 8, 2018).

                                             87.

       Among other requirements, the HIP AA security regulations require

healthcare providers to "[ e ]nsure the confidentiality, integrity and availability of all

electronic protected health information the covered entity or business associate


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creates, receives, maintains, or transmits." 45 C.F.R. § 164.406(a)(l). The HIPAA

security regulations also require healthcare providers to "[p ]rotect against any

reasonably anticipated threats or hazards to the security or integrity of' all

electronic protected health information. 45 C.F.R. § 164.406(a)(2). No doctor or

medical practice could possibly comply with those, and other, HIP AA security

requirements when using ECW' s EHR software.

                                            88.

      ECW licenses its EHR software to medical practices in Middle Georgia-

and throughout the United States-who      have executed the EDI Enrollment

Agreement and have submitted claims for payment to federal healthcare programs.

                                            89.

      As described in Paragraphs 3 8 to 82 of this Complaint, the security

vulnerabilities inherent in ECW's EHR software make it impossible for a

healthcare provider using the software to ensure the confidentiality, safety, and

integrity of Protected Health Information stored in ECW' s EHR.

                                           90.

      In causing the healthcare providers to both expressly and impledly falsely

certify compliance with the HIP AA security regulations, ECW fraudulently

induced CMS and its contractors into permitting those healthcare providers to bill

the Government for care provided to federal healthcare program beneficiaries. As


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a result, each and every claim submitted for government payment by a provider

using ECW' s EHR is a false claim, which ECW caused the provider to submit.

See, e.g., Marsteller for use & benefit of United States v. Tilton, 880 F.3d 1302,

1314 (11th Cir. 2018) (holding that, under the FCA fraudulent inducement basis of

liability, "subsequent claims are false because of an original fraud (whether a

certification or otherwise)" (citation and quotation marks omitted)).

           B. Meaningful Use Incentive Payments.

                                              91.

      In 2009, the federal Health Information Technology for Economic and

Clinical Health Act ("the HITECH ACT") was enacted into law.

                                              92.

      Congress enacted the HITECH Act for the purpose of promoting the

adoption and meaningful use of certified EHR technology by healthcare providers.

                                          93.

      Congress intended to effectuate this goal by providing substantial monetary

incentives to healthcare providers-referred     to as "Eligible Professionals" under

the law-who    established their "meaningful use" of certified EHR technology (the

"Meaningful Use" programs). The Medicare Meaningful Use program provided

meaningful use incentive payments of as much as $43,720 per healthcare provider

who established meaningful use of certified EHR technology. Those payments


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were made over a five year period ending in 2016. The Medicaid Meaningful Use

program provides meaningful use incentive payments of as much as $63,750 per

healthcare provider who establishes meaningful use of certified EHR technology.

Those payments are made over a six year period ending in 2021.

                                          94.

      A healthcare provider can receive meaningful use incentive payments only

after attesting annually to the federal Government that the healthcare provider used

certified EHR technology and met certain specified Meaningful Use objectives and

measures.

                                          95.

      The only way a healthcare provider could know that it was using certified

EHR technology was based on representations made by the EHR vendor, in this

case ECW, that sold the EHR.

                                          96.

      The HITECH Act created a certification program for EHR technology. The

U.S. Department of Health and Human Services Office of the National Coordinator

for Health Information Technology (commonly referred to as "ONC") administers

the certification program and creates certification requirements for EHR vendors,

such as ECW. Under the certification program, EHR vendors, such as ECW, are

required to certify to agents of the federal Government called "authorized


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certification bodies" and "accredited testing laboratories" that the vendor's EHR

technology satisfies ONC' s certification requirements.

                                            97.

      ECW so attested to the agents of the federal Government. In so attesting,

ECW obtained ONC certification for its EHR technology. ECW then represented

to healthcare providers that, with respect to the Meaningful Use program,

"eClinicalWorks Vl0 meets the Complete EHR certification criteria as an

integrated bundle of EHR modular products." 27

                                           98.

      ECW has a page dedicated to "Meaningful Use" on its website that states

"eClinicalWorks Vl 1 is a 2015 Edition ONC Certified Health IT Product." 28

                                           99.

      ECW's attestations and representations were false. The purpose ofECW's

false attestations and representations is clear - by falsely trumpeting its products as

"certified" by ONC, when ECW knows or at the very least should know that its

product does not meet applicable security requirements required for certification,

ECW has greatly increased the sales of its EHR software and has made millions off


27 ECW, Meaningful Use, https://www.eclinicalworks.com/resources/meaningful-
use/meaningful-use-disclosure/ (last visited October 5, 2018).
28 See https://www.eclinicalworks.com/resources/meaningful-use/ (last visited
October 7, 2018).

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of unsuspecting doctors who purchased the program and then improperly obtained

Meaningful Use payments from the government.

                                        100.

      By way of example only, ONC's EHR certification requirements demand

that EHR technology be able to "[v]erify against a unique identifier(s) (e.g., a

username or number) that a person seeking access to electronic health information

is the one claimed." 45 C.F.R. § 170.314(d)(l)(i) (emphasis added). The security

flaws in ECW' s software make it impossible for ECW to verify that the person

seeking access to electronic health information is the one claimed because the

flaws in the system allow unauthorized persons to discover existing usemames and

passwords and to create new usemames and passwords as if they were an

authorized user. Once an existing username and password is discovered or a new

username and password is created, an unauthorized user has complete access to all

of the PHI for that practice group.

                                        101.

      The ONC's EHR certification requirements also mandate that "EHR

technology [such as ECW's EHR] must provide patients (and their authorized

representatives) with an online means to view, download, and transmit to a 3rd

party" specified PHI, including the "Common Clinical Data Set." 45 C.F .R.

§ 170.314(e)(l)(i). The Common Clinical Data Set includes highly sensitive


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patient information such as the patient's sex, date of birth, race, smoking status,

medications, laboratory tests, vital signs, and care plan among other information.29

                                        102.

      The ONC's EHR certification requirements further mandate that "these

capabilities must be through a secure channel that ensures all content is encrypted

and integrity-protected in accordance with the standard for encryption and

hashing algorithms specified at [45 C.F.R.J § 170.210(1)." Id. (Emphasis added.)

                                         103.

      45 C.F.R. § 170.210(f) provides that "[t]he Secretary of [the U.S.

Department of Health and Human Services ("HHS")] adopts the following

standards to protect electronic health information created, maintained, and

exchanged: ... Any encryption and hashing algorithm identified by the National

Institute of Standards and Technology (NIST) as an approved security function in

Annex A of the FIPS Publication 140-2."

                                           104.




29 See ONC, Common Clinical Data Set, available at:
https://www.healthit.gov/sites/default/files/commonclinicaldataset_ ml_ 11-4-15.pdf
(last visited October 7, 2018).



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                                            105.




                                      CW fails to "integrity-protect" PHI such as the

Common Clinical Data Set "in accordance with the standard for encryption and

hashing algorithms specified at [45 C.F.R.J § 170.210(1)." 45 C.F.R.

§ 170.314( e)(1 )(i) ( emphasis added).

                                            106.

      As Relators have demonstrated, the security vulnerabilities identified in

Paragraphs 38 to 82 of this Complaint, make it possible for a malicious actor to

access electronic health information without leaving any trace that the malicious

actor has done so.

                                            107.

      In light of these security vulnerabilities, ECW caused-and     is causing-the

submission of false claims. Because ECW's EHR software does not actually

satisfy the ONC's EHR certification requirements, healthcare providers who use

ECW' s EHR are not entitled to federal incentive payments under the Meaningful




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Use programs. Any and all claims that a provider who uses ECW's EHR submits

for a federal incentive payment under the Meaningful Use programs are therefore

false claims, which ECW caused the provider to submit.

           C. Merit-Based Incentive Program ("MIPS'') Enhanced Medicare
           Payments.

                                         108.

      Although the Medicare Meaningful Use Program ended after 2016, it was

largely replaced by aspects of the federal Merit-Based Incentive Program

("MIPS").

                                         109.

      Healthcare providers who participate in MIPS receive "positive payment

adjustments" while healthcare providers who do not participate in MIPS receive

"negative payment adjustments." Payments adjustments will range from negative

4% to positive 4%. The MIPS payment adjustments are set to take effect in 2019.

                                         110.

      Whether a healthcare provider participating in MIPS receives payment

adjustments depends on data the healthcare provider reports to CMS regarding

various "performance categories."

                                         111.

      One such performance category ("Advancing Care Information") requires

healthcare providers to use certified EHR.
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                                           112.

         Relators know that many healthcare providers, including Relators' clients,

have qualified for MIPS positive payment adjustments and avoided negative

adjustments by representing that they satisfy the MIPS certified EHR requirement

based on their use of ECW' s EHR, which as established above, does not satisfy the

ONC certification requirements. If the Government were aware that ECW' s EHR

does not satisfy the ONC certification requirements, these healthcare providers

would not be eligible for positive payment adjustments under MIPS.

                                           113.

         ECW uses its ability to help physicians obtain MIPS upward payments

adjustments to market its EHR software. The ECW website includes an entire

page devoted to MIPS that describes the incentive payments available to providers

who qualify for MIPS adjustments and promises to "work with individual and

group practices to navigate the complex regulatory environment in the transition to

value-based care." 31 ECW's representations that its EHR software can help

healthcare providers obtain positive MIPS incentive payments are reckless and

false.




31
  See https://www.eclinicalworks.com/resources/macra/ (last visited October 7,
2018).
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                                          114.

       In light of the security vulnerabilities inherent in ECW' s EHR, ECW has or

will cause the submission of false claims when the MIPS payment adjustments

take effect. Because ECW's EHR software does not actually satisfy the ONC's

EHR certification requirements, healthcare providers who use ECW' s EHR are not

entitled to positive payment adjustments under MIPS and likely should be subject

to negative payment adjustments. Any and all claims that a provider who uses

ECW' s EHR submits to the federal government in 2019 (and thereafter) and

receives a positive payment adjustment for under MIPS is therefore a false claim,

which ECW will have caused the provider to submit. Those claim amounts will be

in the millions at the very least.

          D. Physician Quality Reporting System ("PQRS'') Enhanced Medicare
             Payments.
                                          115.
      Initiated in 2006, the Medicare Physician Quality Reporting System

("PQRS")is a voluntary quality reporting program that applies a "downward

payment adjustment" to promote the reporting of quality information by healthcare

providers (referred to under law as "eligible professionals") and group practices.

                                          116.

      The PQRS program applies a downward payment adjustment to healthcare

providers who do not satisfactorily report data on quality measures for covered
                                         50
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Medicare Physician Fee Schedule (MPFS) services furnished to Medicare Part B

Fee-for-Service (FFS) beneficiaries. For example, those healthcare providers who

report satisfactory data for the 2016 program year will avoid the 2018 PQRS

downward payment adjustment.

                                         117.

      Healthcare providers taking part in the PQRS program are required to use

ONC certified EHR software. 32

                                         118.

      Healthcare providers who used ECW's EHR to avoid negative payment

adjustments under PQRS were not entitled to do so because ECW' s EHR, as

established herein, is not actually ONC compliant.




32 See CMS, 2016 Physician Quality Reporting System (PQRS): Reporting Using
an Electronic Health Record (EHR) Made Simple, Feb. 2017, available at
https://www.cms.gov/Medicare/Quality-Initiatives-Patient-Assessment-
Instruments/PQRS/Downloads/2016PQRS _EHR_ Made_ Simple.pdf (last visited
October 8, 2018) ("Individual EPs can avoid the 2018 PQRS payment adjustment
by meeting the following criteria for satisfactory reporting:
1. Report on at least 9 measures covering at least 3 National Quality Strategy
(NQS) domains
2. Use a direct EHR product that is CEHRT or EHR data submission vendor
(DSV) that is CEHRT ["ONC Certified Electronic Health Records Technology"]."
(emphasis added)).
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                                          119.

      ECW caused the submission of false statements material to false claims with

respect to those providers who used ECW's EHR software to avoid negative

payment adjustments under the PQRS program.

        E. Corporate Integrity Agreement.

                                              120.

      ECW is subject to a CIA with the Office of Inspector General of the U.S.

Department of Health & Human Services ("OIG"). The effective date ofECW's

CIA is May 30, 2017.

                                          121.

      Under ECW's CIA, ECW is required to pay "[a] Stipulated Penalty of

$2,500 (which shall begin to accrue on the day after the date the obligation became

due) for each day ECW fails" in its "obligation[]" of "reporting of Reportable

Events." CIA at pp. 59-60, X.A. l .o, Ex. A.

                                          122.

      ECW' s CIA defines "Reportable Event" to include "anything that involves

... a matter that a reasonable person would consider a probable violation of

applicable criminal, civil, or administrative laws and regulations or any applicable

Federal health care program requirements for which penalties or exclusion may be

authorized." CIA at pg. 46, III.L.1.c, Ex. A.
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                                           123.

       ECW had an obligation-and      has an ongoing obligation-to    pay the

government $2,500 in Stipulated Penalties per day due to the security

vulnerabilities in ECW's EHR. A reasonable person would conclude that the

security vulnerabilities in ECW' s EHR-which       ECW either knows about or is

reckless in not knowing about-implicate      "probable violations of applicable

criminal, civil, or administrative laws and regulations." By way of example only,

ECW is causing healthcare providers to submit false claims for Government

payment in violation of the federal False Claims Act, an applicable civil law.

                                           124.

      Because the security vulnerabilities have existed since before ECW entered

the CIA, ECW' s obligation to make Stipulated Penalty payments in the amount of

$2,500 per day began on May 31, 2017 and continue to this day. Upon

information and belief, ECW has made no such Stipulated Penalty payments

related to the fraudulent activities discussed herein.

                                           125.

      ECW' s failure to satisfy its obligation to make Stipulated Penalty payments

violates the FCA, which prohibits "knowingly conceal[ing] or knowingly and

improperly avoid[ing] or decreas[ing] an obligation to pay or transmit money or

property to the Government." 31 U.S.C. § 3729(a)(l )(G). By failing to make


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Stipulated Penalty payments, ECW has "avoided" an "obligation to pay or transmit

money or property to the Government," in violation of the FCA.

                                     COUNTI

                                          126.

      Relators re-allege and reincorporate paragraphs 1 through 125 as if fully set

forth herein.

                                          127.

      This is a claim for treble damages and penalties under the False Claims Act,

31 U.S.C. § 3729, et seq., as amended.

                                          128.

      As described above, the defendant caused the submission of false claims and

made false statements material to false or fraudulent claims to the United States

and agencies thereof.

                                          129.

      As a result of the above-described conduct, claims received and payments

made by the United States, including departments and agencies thereof, were

induced by ECW' s fraud.

                                         130.

      By virtue of the acts described above, defendant knowingly presented, or

caused to be presented, false or fraudulent claims to the United States Government


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for payment or approval, and/or presented false or fraudulent claims to contractors,

grantees, or other recipients seeking payment of money provided by the United

States Government or to be reimbursed by the United States Government to be

spent or used on the Government's behalf or to advance a Government program or

interest.

                                          131.

       The Government, unaware of the falsity of claims submitted or caused to be

submitted by the defendant, paid and continues to pay the claims that would not be

paid but for defendant's fraudulent conduct.

                                          132.

       By reason of defendant's acts, the United States has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

                             PRAYER FOR RELIEF


       WHEREFORE, Relators pray for judgment against the defendant as follows:

                                        133.

       That defendant cease and desist from violating 31 U.S.C. § 3729, et seq.;

                                          134.

       That this Court enter judgment against defendant in an amount equal to three

times the amount of damages the United States has sustained because of



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defendant's actions, plus a civil penalty of not less than $11,000 and not more than

$21,563 for each violation of 31 U.S.C. § 3729, et seq.;

                                          135.

      That Relators be awarded the maximum amount allowed pursuant to §

3730(d) of the False Claims Act;

                                          136.

      That Relators be awarded all costs of this action, including attorneys' fees

and expenses; and,

                                         137.

      That Relators recover such other relief as the Court deems just and proper.




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     Respectfully submitted this 12th day of October, 2018.



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